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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
 9      UNITED STATES OF AMERICA,                         CASE NO. CR15-0120-JCC
10                            Plaintiff,
                                                          MINUTE ORDER
11             v.

12      HUY V. TRAN,
13                            Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on Defendant Huy V. Tran’s motion to continue

18 sentencing and to set an evidentiary hearing (Dkt. No. 849). This motion is noted for September

19 16, 2016, three days after Defendant’s sentencing hearing is set to take place. (See Dkt. No. 793.)

20 According, the sentencing date is hereby VACATED pending the outcome of Defendant’s

21 motion.

22          DATED this 6th day of September 2016.

23                                                         William M. McCool
                                                           Clerk of Court
24
                                                           s/Paula McNabb
25                                                         Deputy Clerk
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